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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



WILLIAM C. TOTH JR., ET. AL.              :        No. 1:22-cv-00208-JPW
                                          :
                    Plaintiffs            :
                                          :
v.                                        :
LEIGH M. CHAPMAN, ET. AL.                 :
                                          :
                    Defendant             :


                    DECLARATION OF HOWARD GARTLAND

      Under 28 U.S.C. § 1746, I, Howard Gartland, make this declaration as follows:

      1.     I am a registered voter residing in the Fifth Congressional District of

Pennsylvania as defined in the Carter Plan that the Pennsylvania Supreme Court

“adopted” in its order of February 23, 2022.

      2.     I intend to vote in the 2022 Republican primary and general

Congressional election and all Congressional elections thereafter.

      3.     I declare, certify, verify, and state under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.



___________________________________
HOWARD GARTLAND


Date:______________________________
